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UNI'J'ED S`l'ATES DISTRICT CUURT
SUL|`|`HERN DISTRICT UF FL{}RlDA

CASE NU.'. UH~Sl443-CV-i-TLTRI,EYHHUPKI`NS

SCS ALI'_"`.XANDRJ:`. li'l` [.`[E df'hra P|{E`i"|"t'
`t"t`JL| llel\lACG. a foreign eorporation_.

lilaintil`i`.
vs.

L.)"'t-N.-‘"t lvlr'tRl{.Fl l_,`lT).. IN['..
a l"`lorida corporation

l}et'endnnt.

DI'“.(FI.AR.A'I`I(_}N t‘JF I,ANA MARKH
Luna |`vlarks._, dee|nres under the penaltyl of perjury the foilowing:
l. l ant the owner and resident agent of l .ana iviarl».'.s l.td.. lne., the l)el`endant in thisl aetion. l

have no legal trainingr

|‘-.i|

Sinee heeoining aware oi` the existence of` this ease. 1 have had numerous eonversations
with counsel l`or Plaintit`i` in regard to resolving this dispute. So l"a.r. those el`i`orts have
been unsueeessful. l-lewever_. l believed that since l 1.’vas having aligning settlement

discussions with counsel i"or Plainrii`i`. that l was not required to respond to the Complaint.

L.¢J'

Al_so, l was informed by my accounting nianager, Christine Wright._, that the Court had
entered its [erer setting 'l`rial Date dc Diseoverv Deadlines. This C=rder, l was told:
oontains a date i`or trial ot` .lanuar_t-' l 1. Et}i [l. l was told by ivls. Wrightr and l understood
that Lana lviarks Ltd., lne. did not have to submit any response until trial as that would he
when the eon'i]:oan;tf would present its defenses Based on this erroneous information1 l

believed that no response was needed until then. l understand now that tnj,~r understanding

 

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was completely ineorrect. l submit that my misunderstanding was excusable neglect and
ask that any default be removed so that the case may be defended.

4. Laria l'vlarks l_ld.. lnc. has a meritorious defense against l’laintii`l`s claims because Cl`l'lifl
certificates were not required when goods are shipped from one |£uropean country to
anotbor. within the Eli. F’laintifl" s claims are based on the fact that Cl'l`liS certificates
were required and l.ana lv’larlts Ltd.. luc.`s alleged failure to acquire the eerti licates led lo
its alleged damagcs.

5. l.ana l'vlarlts l..td.. lnc.. upttn receiving the {`ourt`s Urde.r to $i|'iow tC`.ause1 understands that
it must retain counsel and it has now done so. la addition1 the company will now l`ile its
requisite response in accordance with the law.

t'i. Furthennure._ l noticed from the affidavit ot` service filed in this case that the complaint
was served en ““Katl'ty Caearas“. l imagine this must be Kathy {','aceres` a I"onner
employee ot` my eoinpany. lvls. Caeeres was a low level clerk in my company with no
administrative duties. Slte was not an ot't`ieer_ manager, director. ncr a representative of
the company. She was not authorized in any way to accept service of process. 1 believe
improper service of the complaint on ids Caceres contributed to the untimeliness and
improper handling of our response to the Complaint.

] declare under penalty of perjury that the foregoing is true and correet, pursuant to 23
USC fiec. 1T46.

Execut.ed on this /Z, day of May_. EUU'J.

 

XanWfM/We

Lana l'viarl~ts

